Case 2:05-cr-20040-.]DB Document 26 Filed 08/17/05 Page 1 of 2 Page|D 19

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UN|TED STATES OF AiViEFi|CA,
P|aintiff,

vs Cn_ No. 05-20289-B /

05-20040-8
VV|LL|E E. TAYLOF{,

Defendant.

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ORDER ON GU|LTY PLEA

 

This cause came on to be heard on August 15, 2005, the United States Attomey for this
District, Camii|ie |Vlc|\/|u|ien, appearing for the Govemment and the defendant, Wiiiie E.
Tayior, appearing in person and With counse|, Pamela Hamrin, representing the defendant

With leave of the Court and through counsei, the defendant entered a plea of guilty
to Count One of the lnformation. Piea Colloquy Was held and the Court accepted the guilty
p|ea.

The United States Wi|i move to dismiss Case Number 05-20040-B at the Sentencing
Hearing.

SENTENCING is hereby SET on Wednesday, November 16, 2005, at
9:00 a.m., in Courtroom No.1, on the 11th floor before Judge J. Danie| Breen.

The defendant is remanded to the custody of the U. S. i\/iarsha|.

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ENTERED this the / day or Augusr, 2005.

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With Rule 55 andior 32{©) FiiCrP on ag " he -!2,;__,___

 

 

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This notice confirms a copy of the document docketed as number 26 in
ease 2:05-CR-20040 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

